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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

UNITED STATES OF AMERICA,                  §
                                           §
                    Plaintiff,             §
                                           §
VS.                                        §        Criminal No. 2:16-CR-083-D(1)
                                           §
MOISES JIMENEZ,                            §
                                           §
                    Defendant.             §

                                         ORDER

      Defendant’s August 18, 2017 motion to reconsider motion to suppress is denied.

      SO ORDERED.

      August 18, 2017.



                                          _________________________________
                                          SIDNEY A. FITZWATER
                                          UNITED STATES DISTRICT JUDGE
